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     LegitScript Pharmacy Certification Includes Probationary Status to Help Previously Noncompliant Applicants




               LegitScript Pharmacy Certification Includes
               Probationary Status to Help Previously
               Noncompliant Applicants




               Probationary Certification Category Explained
               In a 2017 blog post, John Horton (https://www.linkedin.com/in/johnhorton-ceo/), CEO, and President of LegitScript, explained the
               introduction of the Probationary Status category in LegitScript's pharmacy merchant certification.


                   NOTE: Probationary certification has been an active offering since 2017.



               Why a Probationary Category Is Necessary
               LegitScript pharmacy certification is intended to distinguish between pharmacy or telemedicine merchants that are operating lawfully
               and those that are not. Sometimes, however, an applicant has had some fairly serious problems in the past, but indicates they have
               fixed the issues and intend to operate in compliance going forward.

               In these cases, I’m often hesitant to put LegitScript’s name and brand behind the applicant as being “LegitScript-approved.” But I’m
               also hesitant not to approve them, as long as they remain licensed and are now fully legally compliant. After all, we want to incentivize
               and reward discontinuation of problematic activity.




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            So the challenges have been: how can we offer certification to these sorts of applicants, while recognizing that enhanced scrutiny is


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        •   needed; and how can we convey to the public that even though we are certifying the applicant, we’re cognizant of prior problems and
        •• LegitScript
            watching closely for them?


               About Probationary Status
               In response, we’re creating the Probationary Status category for healthcare merchants that we’ve identified as having engaged in past
               illicit activity. Here are some of the parameters for eligibility:

                    ■   There is compelling evidence of problematic activity that is both serious and fairly recent (e.g., within the last five years). Note
                        that prior discipline alone doesn’t mean that a pharmacy’s only option is probationary — rather, it has to be pretty serious stuff,
                        such as importing unapproved drugs or selling prescription drugs without a prescription.
                    ■   We have to be convinced that the behavior has stopped, and that it won’t re-occur.
                    ■   As part of this, we’ll require full disclosure regarding the circumstances of the violation. We expect the applicant to take
                        responsibility for it (not simply offer excuses!) and to present a remediation plan.

               Applicants certified with probationary status will be subject to a higher level of scrutiny and monitoring going forward. As part of the
               certification process, we’ll likely be asking for additional documentation and information. Our website will identify the applicant as
               certified and thus legitimate, but we will also note that the merchant is on probationary status and explain why.

               It’s important to emphasize that Probationary Status is not for pharmacies that are operating legally in one jurisdiction but illegally
               elsewhere.

               Probationary status isn’t a “wink-wink” at illegal behavior. It’s full certification, and as such requires full compliance with our standards.

               A few other points. In general, our goal is for probationary status to last no longer than three years. (It is a minimum of one year.) It’s
               also a one-shot deal: if an applicant is certified with probationary status, and we find out that the problematic behavior has resumed,
               was never truly discontinued, or that the application did not disclose material facts about the activity, the applicant will receive a
               lifetime bar from LegitScript approval, and will be classified as rogue or unapproved going forward. As to pricing, it will be on a case-
               by-case basis, but will typically cost more than standard certification, simply because our monitoring is going to be more intensive.

               All of that said, I think this is the right approach to take: if a pharmacy or telemedicine merchant has fixed past problems that were
               serious, and is now in compliance everywhere it is operating, and its licensing authority (e.g., board of pharmacy) has seen fit to allow
               it to maintain its professional license as a pharmacy or other healthcare provider, we want to recognize that. But it’s also incumbent
               upon us to convey to our partners, and to internet users, that we are aware of prior problems and are watching carefully to ensure that
               they do not re-occur.

               For any further questions, contact us (https://www.legitscript.com/contact/).




                   Thea Le Fevre (https://www.legitscript.com/author/thea-le-fevre/)

                   Smelting words into a specialty since 2020, Thea Le Fevre specializes in B2B SaaS Content
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           •        February 25, 2025

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                   In the evolving landscape of weight loss treatments, medications (both
                                                                                                            February 19, 2025

                                                                                                           The healthcare and telehealth industries are experiencing explosive
                   GLP-1s and similar) have gained immense popularity. However,                            growth, creating immense opportunities for payment companies and
                   businesses offering these treatments must navigate strict regulatory                    agents. However, with great opportunity comes great complexity,
                   requirements to ensure compliance and consumer trust. One of the                        particularly in risk management and compliance. In a recent webinar
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                        treatment-providers-in-canada-can-now-get-legitscript-certified/)
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                                                                                                           Merchant risk management is a dynamic and ever-evolving field with
                    February 3, 2025                                                                      challenges ranging from fraud prevention to regulatory compliance.
                                                                                                           LegitScript hosted a webinar featuring industry experts Chiat Fitzgerald,
                   For the first time, Canadian addiction treatment providers are eligible to
                                                                                                           former Head of Global Ecosystem Security & Integrity at Visa, and
                   become LegitScript-certified and advertise their services on Google to
                                                                                                           Caroline Hometh, Manag...
                   more effectively reach individuals in search of recovery. In Canada, as in
                   the United States, substance use disorder remains a pervasive problem
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                   📅 October 02, 2023  Thea Le Fevre (https://www.legitscript.com/author/thea-le-fevre/)                                       Healthcare
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